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DANNER & MARTYN, LLP

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Thousand Oaks, California 91360
Telephone: (805) 777-8700

Facsimile: (805) 778-0736

Attorneys for Plaintiff
DIRECTV, INC.

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DIRE , INC\, a C4lifornia corporation,
Plaintiff,

Vv.

JOHN LAWRENCE; KELLY PAILLON;

CLINT ROUSH; BOB WOODMAN;

GEORGE WORRALL,

Defendants.

PLEASE TAKE NOTICE:
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Case 2:02-cv-02579-DFL-PAN Document9 Filed 01/23/03 Page 1 of 5

DANIEL E. MARTYN, JR. (State Bar No. 138122)
MICHAEL D. SCHULMAN (State Bar No. 137249)
DIANA S. PONCE-GOMEZ (State Bar No. 187136) F | L E D

JAN 22 2003

CLERK, U.S. DISTRICT COURT
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

CASE NO.: CIV. S-02-2579 DFL PAN

NOTICE OF DISMISSAL OF DEFENDANT
BOB WOODMAN BY PLAINTIFF AND
ORDER THEREON

Assigned to Honorable David F. Levi

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Defendant BOB WOODMAN is hereby dismissed by the plaintiff pursuant to Rule 41(a) of the

Federal Rules of Civil Procedure.

Dated: January {ig _, 2003

It is so ordered.

Dated: ff 2 2f 2p?

DANNER & MARTYN, LLP

Diana S. Ponce-Gomez
Attorneys for DIRECTV, INC.

ORDER

Honorable David F. Levi
United States District Court Judge

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF VENTURA

Tam employed by Danner & Martyn, LLP in the County of Ventura, State of California. I am over the
age of 18 and not a party to the within action; my business address is 100 E. Thousand Oaks Blvd.,
Suite 244, Thousand Oaks, California, 91360.

On January [0 2003, I served the foregoing document(s) described as NOTICE OF DISMISSAL
OF DEFENDANT BOB WOODMAN BY PLAINTIFF AND ORDER THEREON on the
interested parties in this action as stated on the attached service list as follows:

By placing true copies thereof enclosed in sealed envelope(s) addressed as stated on the
attached service list

O BY PERSONAL SERVICE (CCP §1011):
I delivered such envelope(s) by hand to the offices of the addressee(s).

BY MAIL (CCP §1013(a)&(b)):

I am “readily familiar’ with the firm’s practice of collection and processing
correspondence for mailing. Under that practice such envelope(s) would be deposited
with the U.S. postal service on that same day with postage thereon fully prepaid at 100
E. Thousand Oaks Blvd., Suite 244, Thousand Oaks, California, in the ordinary course
of business. I am aware that on motion of the party served, service is presumed invalid
if postal cancellation date or postage meter date is more than one day after date of
deposit for mailing in affidavit.

O BY OVERNIGHT CARRIER (CCP §1013(c)&(d) ):
1 am “readily familiar” with the firm’s practice of collection and processing
correspondence for mailing via Overnight Carrier. Under that practice such
envelope(s) would be deposited at an authorized Overnight Carrier “drop off” box on
that same day with delivery fees fully provided for at 100 E. Thousand Oaks Blvd.,
Suite 244, Thousand Oaks, California, in the ordinary course of business.

O BY FACSIMILE:
Pursuant to CCP §1013(e) and (f) and CRC Rule 2008, on October 23, 2002, at approximately
02:44 PM I served the above stated document by facsimile from the facsimile machine of
Danner & Martyn, LLP whose phone number is (805) 778-0736 as stated on the attached
service list. The facsimile machine used complies with CRC Rule 2003(3). Pursuant to CRC
Rule 2008(e) the transmission be facsimile was reported as complete and without error

Executed on January / lp , 2003, at Thousand Oaks, California

O (STATE) I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

(FEDERAL) I declare that I am employed in the office of a member of the Bar of this Court
at whose direction the service was made. I declare_

nder Zo) of perjury under the laws of
6 .
Wy L. c

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ATTACHED SERVICE LIST

Bob Woodman
187 County Road 155
Tulelake, CA 96134
Case 2:02-cv-02579-DFL-PAN Document9 Filed 01/23/03 Page 5 of B41,

United States District Court
for the
Bastern District of California
January 23, 2003

* * CERTIFICATE OF SERVICE * *
2:02-cv-02579

Directv Inc
Vv.

Lawrence

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on January 23, 2003, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Diana Siobhan Ponce-Gomez HV/DFL
Danner and Martyn

100 East Thousand Oaks Boulevard

Suite 244

Thousand Oaks, CA 91360

Jack L. Wagner, Clerk

